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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0939V
                                    Filed: October 10, 2019
                                        UNPUBLISHED


    THERESA UKPO,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU); Joint
                                                             Stipulation on Damages; Tetanus
    SECRETARY OF HEALTH AND                                  Diphtheria acellular Pertussis (Tdap)
    HUMAN SERVICES,                                          Vaccine; Shoulder Injury Related to
                                                             Vaccine Administration (SIRVA)
                        Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Corcoran, Chief Special Master:

        On June 28, 2018, Theresa Ukpo (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related
to vaccine administration (“SIRVA”) as a result of a Tdap vaccination she received on
April 8, 2017. Petition at 1; Stipulation, filed October 10, 2019, at ¶¶ 2, 4. Petitioner
further alleges that she suffered the residual effects of her injury for more than six
months. Petition at 3; Stipulation at ¶ 4. “Respondent denies that petitioner sustained a
SIRVA Table injury and denies that petitioner’s alleged SIRVA and its residual effects
were caused-in-fact by her Tdap vaccine. Respondent further denies that the Tdap
vaccine caused petitioner any other injury or her current condition.” Stipulation at ¶ 6.



1
 I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on October 10, 2019, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $62,500.00, in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under § 15(a). Id.

       I approve the requested amount for petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                      OFFICE OF SPECIAL MASTERS

 THERESA UKPO,

                        Petitioner,
                                                         No. 18-939V
       v.
                                                         Chief Special Master Dorsey (SPU)
 SECRETARY OF HEALTH AND                                 ECF
 HUMAN SERVICES,

                        Respondent.


                                            STIPULATION

The parties hereby stipulate to the following matters:

        1. Petitioner Theresa Ukpo ("petitioner") filed a petition for vaccine compensation under

the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the "Vaccine

Program"). The petition seeks compensation for injuries allegedly related to petitioner's receipt

of an tetanus-diphtheria-acellular pertussis ("Tdap") vaccine, which vaccine is contained in the

Vaccine Injury Table (the "Table"), 42 C.F.R. § l00.3(a).

       2. Petitioner received her Tdap immunization on April 8, 2017.

       3. The vaccine was administered within the United States.

       4. Petitioner alleges that she suffered a shoulder injury related to vaccine administration

("SIRVA") within the time period set forth in the Table, and further alleges that she experienced

the residual effects of her injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages as a result of her condition.

       6. Respondent denies that petitioner sustained a SIRVA Table injury and denies that

petitioner's alleged SIRVA and its residual effects were caused-in-fact by her Tdap vaccine.
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Respondent further denies that the Tdap vaccine caused petitioner any other injury or her current

condition.

        7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-2l(a)(l), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

                A lump sum of $62,500.00 in the form of a check payable to
               ,petitioner. This amount represents compensation for all damages
                that would be available under 42 U.S.C. § 300aa-15(a).

        9. As soon as practicable after the ent~y of judgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42

U.S.C. § 300aa-2 l (a)( I), and an application, the parties will submit to further proceedings before

the special master to award reasonable attorneys' fees and costs incurred in proceeding upon this

petition.

        I 0. Petitioner and her attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-l 5(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act (42

U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.




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        11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12. The parties and their attorneys fu1ther agree and stipulate that, except for any award

for attorneys' fees and litigation costs and past unreimbursable expenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of 42 U.S.C. § 300aa-l 5(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa-l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have'resulted from, the Tdap vaccination administered on April 8, 2017, as

alleged by petitioner in her petition for vaccine compensation filed on June 28, 2018, in the

United States Court of Federal Claims as petition No. 18-939V.

        14. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.




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        15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine [njury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The pa1ties farther agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the Tdap vaccination caused petitioner to suffer a

shoulder injury or any other injury.

        18. All rights and obligations of petitioner hereunder shail apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                       END OF STIPULATION
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Respectfully ~ubmitted,




  1Urr
PETITIONER:



THERESA UKPO



ATTORNEY OF RECORD FOR                      AUTHORIZED REPRESENTATIVE
PETITIONER:                                 OF THE ATTORNEY GENERAL:



JE~
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AUTHORIZED REPRESENTATIVE                   ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                  RESPONDENT:
AND HUMAN SERVICES:


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TAMARA OVERBY                               ADRIANA TEITEL
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Dated:   oc+    /0 I 2ol ~
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